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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )
               vs.                            ) CRIMINAL NO. 20-MJ-08160-GCS
                                              )
MICHAEL A. FERRIS,                            )
                                              )
                              Defendant.      )

                                     MOTION TO DETAIN

       The United States of America, by Steven D. Weinhoeft, United States Attorney for the

Southern District of Illinois, and Alexandria M. Burns, Assistant United States Attorney, moves

for the detention of the Defendant pending trial pursuant to Title 18, United States Code, Section

3142, for the following reasons:

       ( )     The United States asserts that the Defendant is a flight risk and no conditions or
               combination of conditions will assure the appearance of the Defendant for all
               proceedings in this case.

       (X)     The United States asserts that Defendant is a danger to the community.

       ( )     The United States asserts that the Defendant is, or was at the time the offense was
               committed, on release pending trial for a felony, or on release pending imposition
               of execution of sentence (or appeal therefrom) or on probation or parole for any
               offense, all under Federal, State, or local law, or that the Defendant is not a citizen
               or lawfully admitted for permanent residence, and that the Defendant may flee or
               pose a danger to any other person or the community. Accordingly, the United
               States requests this Court to detain the Defendant for a period of not more than
               ten (10) days to permit notification to the proper court or official. Title 18, United
               States Code, Section 3142(d)(1).

       (X)     The United States asserts that there is probable cause to believe that the
               Defendant is subject to the rebuttable presumption that no condition or
               combination of conditions will reasonably assure the appearance of the Defendant
               or the safety of the community. Title 18, United States Code, Section 3142(e).
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       ( )     The United States asserts that there is a serious risk that the Defendant will
               obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt
               to threaten, injure, or intimidate, a prospective witness or juror.

       WHEREFORE, the United States of America respectfully requests that this Honorable

Court schedule a detention hearing and enter an Order directing that the Defendant be detained

until trial or for whatever other relief may be proper, pursuant to Title 18, United States Code,

Section 3142(e). The United States does ( ) or does not (X) move for a three-day continuance

from the time of the initial appearance or arraignment for the purpose of adequately preparing for

the detention hearing. Title 18, United States Code, Section 3142(f).

                                                      Respectfully submitted,

                                                      STEVEN D. WEINHOEFT
                                                      United States Attorney


                                                      s/ Alexandria M. Burns
                                                      ALEXANDRIA M. BURNS
                                                      Assistant United States Attorney
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )
                             Plaintiff,     )
                                            )
              vs.                           ) CRIMINAL NO. 20-MJ-08160-GCS
                                            )
MICHAEL A. FERRIS,                          )
                                            )
                             Defendant.     )

                                     Certificate of Service

       I hereby certify that on November 6, 2020, I caused to be electronically filed Motion to

Detain with the Clerk of Court using the CM/ECF system.

                                                    Respectfully submitted,

                                                    STEVEN D. WEINHOEFT
                                                    United States Attorney

                                                    s/ Alexandria M. Burns
                                                    ALEXANDRIA M. BURNS
